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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION



    SIGIFREDO OLIVEROS-ESTUPINAN,

            Petitioner,

    -vs-                                                                       Case No. 8:02-Cr-228-T-30EAJ
                                                                                        8:05-CV-1101-30EAJ
    UNITED STATES OF AMERICA,

         Respondent.
    _____________________________/

                                                        ORDER

             Petitioner has filed a Notice of Appeal of this Court's July 27, 2006 decision denying

    his motion for relief under 28 U.S.C. § 2255 (CV Dkt. 14), which the Court construes as an

    application for a certificate of appealability (“COA”) pursuant to Rule 22, Fed. R. App. P.,1

    and 28 U.S.C. §22532 (CV Dkt. 15). See Edwards v. United States, 114 F.3d 1083, 1084

    (11th Cir. 1997). Petitioner has not paid the $455.00 appellate filing fee and costs or filed

    an affidavit of indigency seeking leave to proceed on appeal in forma pauperis.

             The Court addressed Petitioner’s claims on the merits. While issuance of a COA

    does not require a showing that the appeal will succeed, see Miller-El v. Cockrell, 537 U.S.

    322, 336-37 (2003), under the controlling standard, a petitioner must demonstrate that


             1
              "Certificate of Appealability. (1) In a . . . 28 U.S.C. §§ 2255 proceeding, the applicant cannot take
    an appeal unless a circuit justice or a circuit or district judge issues a certificate of appealability under 28
    U.S.C. §§ 2253(c). If an applicant files a notice of appeal, the district judge who rendered the judgment must
    either issue a certificate of appealability or state why a certificate should not issue. . . . If no express request
    for a certificate is filed, the notice of appeal constitutes a request addressed to the judges of the court of
    appeals." Rule 22, Fed. R. App. P.
             2
             "[I]n . . . a proceeding under section 2255 . . , the final order shall be subject to review, on appeal,
    by the court of appeals for the circuit in which the proceeding is held. . . . (c)(1) Unless a circuit justice or judge
    issues a certificate of appealability, an appeal may not be taken to the court of appeals from -- . . .(B) the final
    order in a proceeding under section 2255. . . . (2) A certificate of appealability may issue . . . only if the
    applicant has made a substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c).
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    reasonable jurists would find the Court's assessment of the petitioner’s constitutional claims

    debatable or wrong. See Slack v. McDaniel, 529 U.S. 473, 484 (2000); Eagle v. Linahan,

    279 F.3d 926, 935 (11th Cir. 2001). Petitioner has failed to make this threshold showing.

    See Slack, 529 U.S. at 485.

             ACCORDINGLY, the Court ORDERS that Petitioner's Notice of Appeal, which is

    construed as an application for issuance of a certificate of appealability (CV Dkt. 15), is

    DENIED.

             DONE and ORDERED in Tampa, Florida on October 4, 2006.




    Copy furnished to:
    All Parties of Record

    SA/jsh




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